                   Exhibit C: Claims to Be Dismissed With Prejudice

                     Claims for Which No Opposition was Submitted:




                                               Middle
FirmName          LastName       FirstName     Initial   Case Caption        Docket #

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Cargil         John          D         Merck & Co., Inc.   EEF-DEK

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Deady          John                    Merck & Co., Inc.   EEF-DEK

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Franks         Mary          B         Merck & Co., Inc.   EEF-DEK

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Highfield      Terry                   Merck & Co., Inc.   EEF-DEK

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Holden         James         C         Merck & Co., Inc.   EEF-DEK

                                                                             2:06-cv-
Alvis &                                                  Baugher Anna v.     10077-
Willingham, LLP   Kimbrough      Johnnie       D         Merck & Co., Inc.   EEF-DEK
                                                                                     2:06-cv-
Alvis &                                                       Baugher Anna v.        10077-
Willingham, LLP     Murphy             David                  Merck & Co., Inc.      EEF-DEK

                                                                                     2:06-cv-
Alvis &                                                       Baugher Anna v.        10077-
Willingham, LLP     Polk               Lucille                Merck & Co., Inc.      EEF-DEK

                                                                                     2:06-cv-
Alvis &                                                       Middleton, Bobby v.    02625-
Willingham, LLP     Middleton          Larinda                Merck & Co., Inc.      EEF-DEK

Anapol, Schwartz,
Weiss, Cohan,                                                                        2:05-cv-
Feldman &                                                     Young, Russell v.      00502-
Smalley, P.C.       Young (deceased)   Lisa              K.   Merck & Co., Inc.      EEF-DEK

                                                                                     2:08-cv-
                                                              Easterling, Doris v.   00881-
Anderson, John H.   Hathorn            Sharise           M    Merck & Co., Inc.      EEF-DEK

                                                                                     2:08-cv-
                                                              Easterling, Doris v.   00881-
Anderson, John H.   Osborne            Raymond           J    Merck & Co., Inc.      EEF-DEK

                                                                                     2:08-cv-
                                                              Graham, Cassie v.      00879-
Anderson, John H.   Coleman            Cassandra              Merck & Co., Inc.      EEF-DEK

                                                                                     2:08-cv-
                                                              Nelson, Louis v.       00880-
Anderson, John H.   Fortenberry        Annette                Merck & Co., Inc.      EEF-DEK

                                                                                     2:06-cv-
                                                              Ditlevsen, Trey v.     03135-
Arnold Law Firm     Ditlevsen          Trey                   Merck & Co. Inc.       EEF-DEK

                                                                                     2:05-cv-
Austin &                                                      Berry, Lillie Mae v.   04553-
Associates, LLC     Cole               Ansanta           P.   Merck & Co., Inc.      EEF-DEK

                                                                                     2:05-cv-
Austin &                                                      Berry, Lillie Mae v.   04553-
Associates, LLC     Conerly            Mary              F.   Merck & Co., Inc.      EEF-DEK

                                                                                     2:05-cv-
Austin &                                                      Berry, Lillie Mae v.   04553-
Associates, LLC     Harried            Carlee                 Merck & Co., Inc.      EEF-DEK

                                                                                     2:05-cv-
Austin &                                                      Berry, Lillie Mae v.   04553-
Associates, LLC     Joseph, Sr.        Gilbert                Merck & Co., Inc.      EEF-DEK




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                                                                                   2:05-cv-
Austin &                                                    Berry, Lillie Mae v.   04553-
Associates, LLC     King             Rosemary               Merck & Co., Inc.      EEF-DEK

                                                                                   2:05-cv-
Austin &                                                    Berry, Lillie Mae v.   04553-
Associates, LLC     McPherson, Sr.   Santonio               Merck & Co., Inc.      EEF-DEK

                                                                                   2:05-cv-
Austin &                                                    Berry, Lillie Mae v.   04553-
Associates, LLC     Pichon           Venessa                Merck & Co., Inc.      EEF-DEK

                                                                                   2:05-cv-
Austin &                                                    Berry, Lillie Mae v.   04553-
Associates, LLC     Salvant          Sidney                 Merck & Co., Inc.      EEF-DEK

                                                                                   2:05-cv-
Austin &                                                    Berry, Lillie Mae v.   04553-
Associates, LLC     Underwood        Mary                   Merck & Co., Inc.      EEF-DEK

                                                            Fleckenstein, Pamela   2:05-cv-
Beattie Law Firm,                                           J. v. Merck & Co.,     02261-
P.C.                Kirkpatrick      Elizabeth         E.   Inc.                   EEF-DEK

                                                                                   2:06-cv-
                                                            Robles, Carmen v.      06963-
Branch Law Firm     Smith            Ruby                   Merck & Co., Inc.      EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Bowie            Barbara                & Co., Inc.            EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Douglass         Roberta                & Co., Inc.            EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Fowler           Wardrey                & Co., Inc.            EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Hemphill         Charlene               & Co., Inc.            EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Lanier           Alfred                 & Co., Inc.            EEF-DEK

                                                                                   2:05-cv-
Douglas & London,                                           Boyd, Rutha v. Merck   05370-
PC                  Pennington       Judie                  & Co., Inc.            EEF-DEK

                                                                                   2:08-cv-
Douglas & London,                                           Civil, Jean v. Merck   00307-
PC                  Civil            Jean                   & Co., Inc.            EEF-DEK



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                                                                                    2:07-cv-
Douglas & London,                                           Cruz, Maria D. v.       07516-
PC                   Delacruz    Maria                      Merck & Co., Inc.       EEF-DEK

                                                                                    2:08-cv-
Douglas & London,                                           Degraw, William v.      00308-
PC                   Degraw      William                    Merck & Co., Inc.       EEF-DEK

                                                                                    2:05-cv-
Douglas & London,                                           Fullington, David v.    05164-
PC                   Miller      Geraldine                  Merck & Co., Inc.       EEF-DEK

                                                                                    2:07-cv-
Douglas & London,                                           Kahan, Samuel v.        03632-
PC                   Alcantra    Cornelia                   Merck & Co., Inc.       EEF-DEK

                                                                                    2:07-cv-
Douglas & London,                                           Lai, Tai M. v. Merck    08077-
PC                   Lai         Tai Man                    & Co., Inc.             EEF-DEK

                                                                                    2:07-cv-
Douglas & London,                                           Mott, Donald v.         01398-
PC                   Mott        Donald                     Merck & Co., Inc.       EEF-DEK

                                                                                    2:07-cv-
Douglas & London,                                           Mott, Donald v.         01398-
PC                   Thompson    Catherine                  Merck & Co., Inc.       EEF-DEK

                                                                                    2:07-cv-
Douglas & London,                                           Patterson, Phyllis v.   01399-
PC                   Patterson   Phyllis                    Merck & Co., Inc.       EEF-DEK

                                                                                    2:06-cv-
Fabbro, Steven A.,                                          Morris, Karen v.        10993-
Law Office of        Morris      Karen                      Merck & Co., Inc.       EEF-DEK

                                                                                    2:06-cv-
Fabbro, Steven A.,                                          Wiley, Janie v. Merck   11040-
Law Office of        Wiley       Janie                      & Co., Inc.             EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                   2:07-cv-
Medsker, Nichols,                                           Chavez, Maria T. v.     00736-
Conklin, Olds        Allred      Michael           Weston   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                   2:07-cv-
Medsker, Nichols,                                           Chavez, Maria T. v.     00736-
Conklin, Olds        Boothe      Linda             B.       Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                   2:07-cv-
Medsker, Nichols,                                           Chavez, Maria T. v.     00736-
Conklin, Olds        Brent       Velma             R.       Merck & Co., Inc.       EEF-DEK



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Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Chavez       Maria           T.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Ditterline   Timothy         A.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Dominguez    Mary            C.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       England      Mark            Anthony   Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Greive       Paul            W.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Harned       Mary            H.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Messerly     John            Craig     Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Palmer       Lola            H.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Patterson    Tina            M.        Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                                2:07-cv-
Medsker, Nichols,                                          Chavez, Maria T. v.   00736-
Conklin, Olds       Porter       Carolyn         S.        Merck & Co., Inc.     EEF-DEK




                                           -5-
Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Rawson     Jacquelia         Y.       Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Richards   Stewart                    Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Sanders    Geraldine                  Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Shuman     Earl              W.       Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Shuman     Melba             J.       Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Storey     Valerie           J.       Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Taylor     Maxine                     Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Thurgood   Angelia                    Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Weir       Leroy             Robert   Merck & Co., Inc.     EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                         Chavez, Maria T. v.   00736-
Conklin, Olds       Woods      Alan              T.       Merck & Co., Inc.     EEF-DEK




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Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Chavez, Maria T. v.     00736-
Conklin, Olds        Woods       Thomas            P.   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Chavez, Maria T. v.     00736-
Conklin, Olds        Wright      Christine              Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Montoya, Cristobal v.   00735-
Conklin, Olds        Averett     Marla             M.   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Montoya, Cristobal v.   00735-
Conklin, Olds        Lyons       Geraldine         A.   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Montoya, Cristobal v.   00735-
Conklin, Olds        Midgley     Andrea            J.   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Montoya, Cristobal v.   00735-
Conklin, Olds        Moffit      Gregory           A.   Merck & Co., Inc.       EEF-DEK

Farr, Kaufmann,
Sullivan, Jensen,                                                               2:07-cv-
Medsker, Nichols,                                       Montoya, Cristobal v.   00735-
Conklin, Olds        Montoya     Cristobal              Merck & Co., Inc.       EEF-DEK

                                                                                2:05-cv-
Fibich, Hampton &                                       Barr, Johnnie v.        06369-
Leebron, LLP         Lofton      Dorris                 Merck & Co., Inc.       EEF-DEK

                                                                                2:05-cv-
                                                        Prado, Carmen v.        06303-
Fichera & Miller     Prado       Carmen                 Merck & Co., Inc.       EEF-DEK

                                                                                2:05-cv-
Fincher, Henry D.,                                      Clark, J. K. v. Merck   00117-
Law Office of        Clark       John              K    & Co., Inc.             EEF-DEK

                                                                                2:05-cv-
Godosky & Gentile,                                      Pitchford, Millie v.    05373-
P.C.                 Pitchford   Millie                 Merck & Co., Inc.       EEF-DEK




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                                                                                 2:05-cv-
Golden & Fonte,                                          Ralston, Angela v.      06163-
PLC                  Ralston       Angela                Merck & Co., Inc.       EEF-DEK

                                                                                 2:06-cv-
Hamilton Law                                             Furman, Barbara v.      10601-
Firm, P.C.           Furman        Barbara          J.   Merck & Co., Inc.       EEF-DEK

                                                                                 2:05-cv-
Herman, Herman,                                          Jenkins, Jackie v.      04416-
Katz & Cotler, LLP   Anderson      Patricia         A.   Merck & Co., Inc.       EEF-DEK

                                                                                 2:05-cv-
Herman, Herman,                                          Jenkins, Jackie v.      04416-
Katz & Cotler, LLP   Breaux        Terrell          D.   Merck & Co., Inc.       EEF-DEK

                                                                                 2:05-cv-
Herman, Herman,                                          Jenkins, Jackie v.      04416-
Katz & Cotler, LLP   Jackson       Tanisha               Merck & Co., Inc.       EEF-DEK

                                                                                 2:05-cv-
Holloran White &                                         Gilmore, John G. v.     05351-
Schwartz             Gilmore       John             G.   Merck & Co., Inc.       EEF-DEK

                                                                                 2:05-cv-
Johnson &                                                Davenport, Stanley v.   01540-
Benjamin LLP         Davenport     Stanley               Merck & Co., Inc.       EEF-DEK

                                                                                 2:06-cv-
Johnson Law                                              Burk, Carolyn v.        10316-
Associates           Burk          Carolyn          E.   Merck & Co., Inc.       EEF-DEK

                                                                                 2:06-cv-
Johnson, David H.,                                       Goodell, Doris v.       00314-
Law Office of        Goodell       Doris            M.   Merck & Co., Inc.       EEF-DEK

Jones, Jeffrey W.,                                                               2:05-cv-
PLLC, Attorney at                                        Jones, Lila M. v.       06144-
Law                  Jones         Lila             M    Merck & Co., Inc.       EEF-DEK

Jones, Swanson,                                                                  2:05-cv-
Huddell &                                                Allen, Donna v.         04435-
Garrison, L.L.C.     BRIDGEWATER   GLORIA                Merck & Co., Inc.       EEF-DEK

Jones, Swanson,                                                                  2:05-cv-
Huddell &                                                Allen, Donna v.         04435-
Garrison, L.L.C.     BUSBY         JUANITA               Merck & Co., Inc.       EEF-DEK

Jones, Swanson,                                                                  2:05-cv-
Huddell &                                                Allen, Donna v.         04435-
Garrison, L.L.C.     COLLINS       ANNIE            M.   Merck & Co., Inc.       EEF-DEK

Jones, Swanson,                                                                  2:05-cv-
Huddell &                                                Allen, Donna v.         04435-
Garrison, L.L.C.     DECAY, SR.    ELWIN            A.   Merck & Co., Inc.       EEF-DEK



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Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   DILLARD      CHERYL              Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   DOMINO       MARCEL              Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   ELLIS        BARBARA             Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   HALL         LOUIS               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   HOLDEN       MARY                Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   HOLMES       LINDA               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   JACKSON      MINDY               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   JACKSON      JENNIFER            Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   JOHNSON      GILDA               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   JOHNSON      LEOLA               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &          KING -                           Allen, Donna v.     04435-
Garrison, L.L.C.   NOLDEN       ALICIA              Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   KORNDORFER   HELENA              Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   MARSHALL     ANN            L.   Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                         2:05-cv-
Huddell &                                           Allen, Donna v.     04435-
Garrison, L.L.C.   MARTIN       SUBRINA             Merck & Co., Inc.   EEF-DEK



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Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   MARTIN      PATSY                 Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   MCGEE       JEANETTE              Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   MULLET      MEGAN                 Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   PAYNE       NIKERIA               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &          RANLETT,                          Allen, Donna v.     04435-
Garrison, L.L.C.   DECEASED    MARY                  Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   ROBINSON    LYNNE            M.   Merck & Co., Inc.   EEF-DEK

                   ROBINSON,
                   DECEASED,
Jones, Swanson,    C/O BETTY                                             2:05-cv-
Huddell &          JEAN                              Allen, Donna v.     04435-
Garrison, L.L.C.   ROBINSON    OSCAR                 Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &          SESSIONS-                         Allen, Donna v.     04435-
Garrison, L.L.C.   RODRIGUEZ   KATHY                 Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   SIMMONS     ABBIE                 Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   SMITH       MARTHA           K.   Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   SOLOMON     BARBARA          A.   Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   TABOR       KRYSTLE               Merck & Co., Inc.   EEF-DEK

Jones, Swanson,                                                          2:05-cv-
Huddell &                                            Allen, Donna v.     04435-
Garrison, L.L.C.   TALLY       GWENDOLYN             Merck & Co., Inc.   EEF-DEK




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Jones, Swanson,                                                                     2:05-cv-
Huddell &           TAYLOR -                                   Allen, Donna v.      04435-
Garrison, L.L.C.    GREEN              CYNTHIA                 Merck & Co., Inc.    EEF-DEK

Jones, Swanson,                                                                     2:05-cv-
Huddell &                                                      Allen, Donna v.      04435-
Garrison, L.L.C.    THOMPSON           BARBARA                 Merck & Co., Inc.    EEF-DEK

Jones, Swanson,                                                                     2:05-cv-
Huddell &                                                      Allen, Donna v.      04435-
Garrison, L.L.C.    WASHINGTON         MARY               G.   Merck & Co., Inc.    EEF-DEK

Jones, Swanson,                                                                     2:05-cv-
Huddell &                                                      Allen, Donna v.      04435-
Garrison, L.L.C.    WEBB, JR.          JAMES                   Merck & Co., Inc.    EEF-DEK

Jones, Swanson,                                                                     2:05-cv-
Huddell &                                                      Allen, Donna v.      04435-
Garrison, L.L.C.    WILLIAMS           DIANNA             C.   Merck & Co., Inc.    EEF-DEK

                                                                                    2:05-cv-
Kaplan, Douglas,                                               Bromfeld, Helen v.   02293-
Attorney at Law     Bromfeld           Helen                   Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Kershaw, Cutter &                                              Tahami, Gholam v.    06741-
Ratinoff, LLP       Tahami             Gholam             H.   Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Lamb Firm, LLC,     De-La-Cruz-                                Acevedo, Jose v.     06997-
The                 Mendes             Valina                  Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Lamb Firm, LLC,                                                Acevedo, Jose v.     06997-
The                 Diaz-Caban         Marilyn                 Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Lamb Firm, LLC,                                                Acevedo, Jose v.     06997-
The                 Pereira-Cruz       Miguel                  Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Lamb Firm, LLC,                                                Acevedo, Jose v.     06997-
The                 Riollano-Marrero   Carmen                  Merck & Co., Inc.    EEF-DEK

                                                                                    2:06-cv-
Lamb Firm, LLC,                                                Acevedo, Jose v.     06997-
The                 Soria-Melendez     Hector                  Merck & Co., Inc.    EEF-DEK

                                                               Adames De La Rosa,   2:06-cv-
Lamb Firm, LLC,                                                Rogelio v. Merck &   06999-
The                 Irizarry-Alvarez   Emily                   Co., Inc.            EEF-DEK

                                                               Adames De La Rosa,   2:06-cv-
Lamb Firm, LLC,                                                Rogelio v. Merck &   06999-
The                 Medina-Camacho     Mildred                 Co., Inc.            EEF-DEK



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                                                             Adames De La Rosa,   2:06-cv-
Lamb Firm, LLC,   Rodriguez-                                 Rogelio v. Merck &   06999-
The               Molina             Elena                   Co., Inc.            EEF-DEK

                                                                                  2:06-cv-
Lamb Firm, LLC,                                              Alvarado, Ramon v.   07150-
The               Alvarado           Ramon                   Merck & Co., Inc.    EEF-DEK

                                                                                  2:06-cv-
Lamb Firm, LLC,                                              Alvarado, Ramon v.   07150-
The               Colon-Ortiz        Nancy                   Merck & Co., Inc.    EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Baez-Huertas       Luz                M.   Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Bravo-Rivera       Nilda              G.   Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Cruz-Rodriguez     Justa                   Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               De-Jesus           Carmen                  Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Gonzalez-Torres    Jose                    Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,   Guzman-                                    Gladys v. Merck &    06234-
The               Gonzalez           Wanda                   Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Jimenez-DeSantis   Tomas                   Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Lopez-Caro         Gladys                  Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Maldonado-Rios     Juan                    Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Mendez-Cotto       Armando                 Co., Inc.            EEF-DEK

                                                             Amadis-Rosario,      2:05-cv-
Lamb Firm, LLC,                                              Gladys v. Merck &    06234-
The               Reyes-Aviles       Antonia                 Co., Inc.            EEF-DEK



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                                                               Amadis-Rosario,         2:05-cv-
Lamb Firm, LLC,                                                Gladys v. Merck &       06234-
The                  Rodriguez-Reyes   Carmen                  Co., Inc.               EEF-DEK

                                                               Amadis-Rosario,         2:05-cv-
Lamb Firm, LLC,      Rosado-                                   Gladys v. Merck &       06234-
The                  Almodovar         Sonia                   Co., Inc.               EEF-DEK

                                                               Amadis-Rosario,         2:05-cv-
Lamb Firm, LLC,                                                Gladys v. Merck &       06234-
The                  Sellas-Aviles     Luis                    Co., Inc.               EEF-DEK

                                                               Amadis-Rosario,         2:05-cv-
Lamb Firm, LLC,                                                Gladys v. Merck &       06234-
The                  Serrano-Nieves    Carmen                  Co., Inc.               EEF-DEK

                                                                                       2:06-cv-
Lamb Firm, LLC,                                                Bell, Walter v. Merck   06998-
The                  Williams-King     Alisha             S.   & Co., Inc.             EEF-DEK

                                                                                       2:06-cv-
Law Office of Dick                                             Donnell, Bonnie v.      01045-
Swift                Thompson          Donna                   Merck & Co., Inc.       EEF-DEK

                                                                                       2:05-cv-
Levin Fishbein                                                 Ada Lindsey, Janice     05867-
Sedran & Berman      Ada-Lindsey       Janice                  v. Merck & Co., Inc.    EEF-DEK

                                                                                       2:06-cv-
Levin Fishbein                                                 Shaw, Shirley F. v.     09405-
Sedran & Berman      Shaw              Shirley            F.   Merck & Co., Inc.       EEF-DEK

Lieff, Cabraser,                                                                       2:06-cv-
Heimann &                                                      Cifuentes, Sonia v.     03350-
Bernstein, LLP       Cifuentes         Sonia              E    Merck & Co., Inc.       EEF-DEK

Lieff, Cabraser,                                                                       2:05-cv-
Heimann &                                                      Frontauria, Eugene v.   05679-
Bernstein, LLP       Frontauria        Eugene             G    Merck & Co., Inc.       EEF-DEK

Lieff, Cabraser,                                                                       2:05-cv-
Heimann &                                                      Hindman, John v.        05873-
Bernstein, LLP       Hindman           John                    Merck & Co., Inc.       EEF-DEK

Lieff, Cabraser,                                                                       2:05-cv-
Heimann &                                                      Holbrook, Elmer v.      05756-
Bernstein, LLP       Holbrook          Elmer                   Merck & Co., Inc.       EEF-DEK

Lipsitz, Nassau,                                                                       2:06-cv-
Schwartz &                                                     Conner, Thomas Jr. v.   03918-
Leckman              Conner            Thomas Jr.              Merck & Co. Inc.        EEF-DEK

                                                                                       2:06-cv-
Masters Law Firm,                                              Adkins, Johnny Allen    06601-
LC                   Adkins            Johnny             A.   v. Merck & Co., Inc.    EEF-DEK



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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Akers         William             J.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Baldwin       Manuel                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Ballard       Eliza               G    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Barker        Kenneth                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Blankenship   Roy                 L    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Borda         Mary                L    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Bosley        Rose                M.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Canada        Samuel              R    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Chandler      John                H    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Conn          Joseph                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Donnellan     Sandra              W    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Farley        Kathleen                 v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Gollihue      Larry               F    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                          Adkins, Johnny Allen   06601-
LC                  Haines        Betty                    v. Merck & Co., Inc.   EEF-DEK



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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Harless       Avon               F    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Howard        Virgie                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Hunt          Helen              G.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Johnstone     Nancy                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Jones         Beverly            A    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Jones         Lydia              E    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Keyser        Garnett            L    v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Kinser        Charles                 v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Kirk          Junie                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Legg          Beverly                 v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Lester        George                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  Marcum        Cassandra               v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  McBride       Evelyn             G.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                  McCallister   Helen                   v. Merck & Co., Inc.   EEF-DEK



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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Miller        James                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Monk          Dale               E   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Mynes         Larry              A   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Pauley        Dennis             A   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Pernell       Gracie             M   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Plybon        Calvin             R   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Price         Alonzo             C   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Pritt         John                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Quesenberry   Harry                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Ratcliff      Donna                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Rutherford    Charles                v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Stewart       Ronald             G   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Stumbo        Danny                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                        Adkins, Johnny Allen   06601-
LC                  Sturgill      Betty                  v. Merck & Co., Inc.   EEF-DEK



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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Thompson     Charles            D.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Thornsbury   Ed                      v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Tschop       Gladys             V.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Vint         Michael                 v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Whitten      Sharon                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Willet       Karen                   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Williams     Donald                  v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Wilson       Theresa                 v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Adkins, Johnny Allen   06601-
LC                   Workman      William            F.   v. Merck & Co., Inc.   EEF-DEK

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Masters Law Firm,                                         Dickens, Leota F. v.   03312-
LC                   Dickens      Leota                   Merck & Co., Inc.      EEF-DEK

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Mayeux, Donald L.,                                        Sonnier, Eddie v.      06877-
Law Firm             Sonnier      Eddie                   Merck & Co., Inc.      EEF-DEK

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McFarland &                                               Arnett, Lavern v.      06518-
Lovely, PSC          Arnett       Lavern                  Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                         Alaniz, Paula G. v.    05999-
The (PA)             Allen        Ivory                   Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                         Alaniz, Paula G. v.    05999-
The (PA)             Denison      Brenda                  Merck & Co., Inc.      EEF-DEK



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Miller Firm, LLC,                                  Alaniz, Paula G. v.   05999-
The (PA)            Hopkins     Gladys             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alaniz, Paula G. v.   05999-
The (PA)            Hunt        Linda              Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alaniz, Paula G. v.   05999-
The (PA)            Sweet       Maggie             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alaniz, Paula G. v.   05999-
The (PA)            Sylvia      Ronald             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alaniz, Paula G. v.   05999-
The (PA)            Wordlaw     Valerie            Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alegria, Jose v.      05990-
The (PA)            Hans        Robert             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alegria, Jose v.      05990-
The (PA)            Hogan       Geneva             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Alegria, Jose v.      05990-
The (PA)            Sparr       Raymond            Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Allen, Vanessa v.     05991-
The (PA)            Nicholson   Thomas             Merck & Co. Inc.      EEF-DEK

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Miller Firm, LLC,                                  Alvarado, Martha v.   05980-
The (PA)            Morrow      Sharon             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Bailey, Isolina v.    05982-
The (PA)            Taylor      Delilah            Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Bailey, Tammy v.      05987-
The (PA)            Bonner      Brenda             Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Bailey, Tammy v.      05987-
The (PA)            Gregg       Kay                Merck & Co., Inc.     EEF-DEK

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Miller Firm, LLC,                                  Bailey, Tammy v.      05987-
The (PA)            Haecker     Paul               Merck & Co., Inc.     EEF-DEK



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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            Hurtibus   Linda              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            Hutchins   Roger              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            McDonald   Marva              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            Smith      Billy              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            Stafford   William Carl       Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bailey, Tammy v.       05987-
The (PA)            Webb       Daniel             Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bates, Mary A. v.      05989-
The (PA)            Burke      Jan                Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bates, Mary A. v.      05989-
The (PA)            Okon       Bassey             Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bates, Mary A. v.      05989-
The (PA)            Stevens    Howson             Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Blackmon, Brenda v.    05992-
The (PA)            Bradshaw   Pat                Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Blackmon, Brenda v.    05992-
The (PA)            Gonzalas   Raymond            Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Blackmon, Brenda v.    05992-
The (PA)            Miller     Fred               Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Blackmon, Brenda v.    05992-
The (PA)            Vann       Carol              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                 Bloomberg, Virginia    05984-
The (PA)            Foshee     Jimmie             v. Merck & Co., Inc.   EEF-DEK



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                                                                            2:06-cv-
Miller Firm, LLC,                                    Bloomberg, Virginia    05984-
The (PA)            Griffith    Rickey               v. Merck & Co., Inc.   EEF-DEK

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Miller Firm, LLC,                                    Bloomberg, Virginia    05984-
The (PA)            Mitchem     Robbin               v. Merck & Co., Inc.   EEF-DEK

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Miller Firm, LLC,                                    Bloomberg, Virginia    05984-
The (PA)            Ratliff     Connie               v. Merck & Co., Inc.   EEF-DEK

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Miller Firm, LLC,                                    Bloomberg, Virginia    05984-
The (PA)            Riester     Mary                 v. Merck & Co., Inc.   EEF-DEK

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Miller Firm, LLC,                                    Bloomberg, Virginia    05984-
The (PA)            Smith       Willie               v. Merck & Co., Inc.   EEF-DEK

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Miller Firm, LLC,                                    Busk, John M. v.       05983-
The (PA)            Brown       Mary Lou             Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Busk, John M. v.       05983-
The (PA)            Busk        John Morgan          Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Busk, John M. v.       05983-
The (PA)            Nelson      Jeanette             Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Cates, James H. v.     05994-
The (PA)            Davis       Dale                 Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Cates, James H. v.     05994-
The (PA)            Hotchkiss   Pamela               Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Damon, Mary v.         05993-
The (PA)            Damon       Mary                 Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Damon, Mary v.         05993-
The (PA)            Evers       William              Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Damon, Mary v.         05993-
The (PA)            Gipson      Vivian               Merck & Co., Inc.      EEF-DEK

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Miller Firm, LLC,                                    Damon, Mary v.         05993-
The (PA)            Watson      Christine            Merck & Co., Inc.      EEF-DEK



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                                                                                          2:07-cv-
Miller Firm, LLC,                                                 Ferguson, Bonnie v.     01827-
The (PA)                Ferguson   Bonnie                         Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Gladden, Keith v.       05996-
The (PA)                Sanders    Roxanne                        Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Hasbrouck, Charles v.   05988-
The (PA)                Leonard    Kathleen                       Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Lafay, Edward v.        05998-
The (PA)                Walker     Linda                          Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Russell, Celeste v.     05986-
The (PA)                Demers     Brian F.                       Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Russell, Celeste v.     05986-
The (PA)                Lee        Victoria                       Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
Miller Firm, LLC,                                                 Wusstig, Erwin v.       06958-
The (PA)                Jones      Carol Ann                      Merck & Co., Inc.       EEF-DEK

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Miller Firm, LLC,                                                 Wusstig, Erwin v.       06958-
The (PA)                Smith      Darrell E.                     Merck & Co., Inc.       EEF-DEK

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Miller Firm, LLC,                                                 Wusstig, Erwin v.       06958-
The (PA)                Sturgeon   Elmer                          Merck & Co., Inc.       EEF-DEK

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Miller Firm, LLC,                                                 Wusstig, Erwin v.       06958-
The (PA)                Thornton   John M.                        Merck & Co., Inc.       EEF-DEK

                                                                                          2:05-cv-
                                                                  Beal, Janice v. Merck   06833-
Mithoff Law Firm        Beal       George                T.       & Co., Inc.             EEF-DEK

                                                                                          2:06-cv-
Natale, II, Frank A.,                                             Conti, Angela J. v.     10680-
Law Office of           Conti      Angela                Jean     Merck & Co., Inc.       EEF-DEK

                                                                                          2:07-cv-
                                                                  Scrivner, Paul v.       00684-
Nelson Law Office       SCRIVNER   PAUL                  ARTHUR   Merck & Co., Inc.       EEF-DEK

                                                                                          2:06-cv-
                                                                  Barker, Kathryn v.      03401-
Reich and Binstock      Barker     Kathryn               L.       Merck & Co., Inc.       EEF-DEK



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                                                                                        2:06-cv-
                                                                Borkowski, Tina v.      05691-
Reich and Binstock   Borkowski         Tina                     Merck & Co., Inc.       EEF-DEK

                                                                                        2:05-cv-
                                                                Carver, Roger v.        04981-
Reich and Binstock   Carver            Gail                F.   Merck & Co., Inc.       EEF-DEK

                                                                                        2:05-cv-
                                                                Duffield, Mary v.       05451-
Reich and Binstock   Duffield          Mary                A.   Merck & Co., Inc.       EEF-DEK

                                                                                        2:06-cv-
                                                                Morris, Richard v.      01442-
Reich and Binstock   Morris            Richard             A.   Merck & Co., Inc.       EEF-DEK

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                                                                Ward, Louise v.         02554-
Reich and Binstock   Ward              Louise                   Merck & Co., Inc.       EEF-DEK

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                                                                Woods, Winstun v.       03705-
Reich and Binstock   Woods             Winstun             L.   Merck & Co., Inc.       EEF-DEK

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Rubin, Machado &                                                Birdow, Demper v.       09360-
Rosenblum, Ltd.      Birdow            Demper                   Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                                Bartie, Angela v.       01667-
M., APLC             Bartie            Angeline                 Merck & Co., Inc.       EEF-DEK

                                                                                        2:07-cv-
Schmidt, Douglas                                                Bumpers, Asarie v.      01681-
M., APLC             Bumpers           Asarie                   Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                                Celestine, Kenneth v.   01633-
M., APLC             Celestine         Kenneth                  Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                                DeBoest, Delores v.     01680-
M., APLC             DeBoest           Delores                  Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                                Foster, Ray v. Merck    01666-
M., APLC             Ryce (deceased)   Vildred                  & Co., Inc.             EEF-DEK

                                                                                        2:07-cv-
Schmidt, Douglas                                                Guillory, Gloria v.     01647-
M., APLC             Guillory          Gloria                   Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                                Hamilton, Anna v.       01683-
M., APLC             Hamilton          Anna                     Merck & Co., Inc.       EEF-DEK



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Schmidt, Douglas                                      LaFleur, Cynthia v.     01653-
M., APLC           LaFleur    Cynthia                 Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                      Mitchell, Clorinda v.   01630-
M., APLC           Mitchell   Clorinda                Merck & Co., Inc.       EEF-DEK

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Schmidt, Douglas                                      Stevens, Erma v.        01673-
M., APLC           Stevens    Emma                    Merck & Co., Inc.       EEF-DEK

                                                                              2:06-cv-
                                                      Acey, Margie v.         10173-
Seeger Weiss LLP   Choate     Deborah             A   Merck & Co., Inc.       EEF-DEK

                                                                              2:06-cv-
                                                      Aus, Dorothy v.         10167-
Seeger Weiss LLP   Babcock    Michael                 Merck & Co., Inc.       EEF-DEK

                                                                              2:06-cv-
                                                      Cox, Timothy v.         10152-
Seeger Weiss LLP   Turley     Glover                  Merck & Co., Inc.       EEF-DEK

                                                                              2:06-cv-
                                                      Martin, Beulah v.       10170-
Seeger Weiss LLP   Trainum    Chad                    Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Cantrell   Dorothy                 Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Edwards    Ida                     Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Guyton     Annie                   Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Hood       Mary                    Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Hughes     Rose                    Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Jackson    Annie               W   Merck & Co., Inc.       EEF-DEK

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Shelton &                                             Cantrell, Dorothy v.    10974-
Associates, P.A.   Jackson    Isaac                   Merck & Co., Inc.       EEF-DEK



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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     Landwer       Rosanna                    Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     Lockhart      Charlotte                  Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     South         Penny                      Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     Summers       Rosie                      Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     Webb          Earline                    Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Cantrell, Dorothy v.    10974-
Associates, P.A.     Williams      Fred                       Merck & Co., Inc.       EEF-DEK

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Shelton &                                                     Ivy, Tommie L. v.       09599-
Associates, P.A.     Ivy           Tommy                Lee   Merck & Co., Inc.       EEF-DEK

                                                                                      2:07-cv-
Shelton &                                                     Woods, Sherry v.        09598-
Associates, P.A.     Woods         Sherry                     Merck & Co., Inc.       EEF-DEK

                                                                                      2:06-cv-
                                                              Cummings, Luann v.      04185-
Silverman & Fodera   Cummings      LuAnn                G     Merck & Co., Inc.       EEF-DEK

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Smith, Michael,                                               Davenport, Laura v.     00096-
Attorney at Law      ELSTON        WILLIE                     Merck & Co. Inc.        EEF-DEK

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Smith, Michael,                                               Davenport, Laura v.     00096-
Attorney at Law      PERALES       CARLOS                     Merck & Co. Inc.        EEF-DEK

St. Martin,                                                                           2:05-cv-
Williams &                                                    Kibodaux, Maggie v.     00578-
Bourque              Boudreaux     Pearl                M     Merck & Co., Inc.       EEF-DEK

St. Martin,                                                                           2:05-cv-
Williams &                                                    Schexnayder, Louis J.   01200-
Bourque              Schexnayder   Louis                J     v. Merck & Co., Inc.    EEF-DEK

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Stipe, Harper Law                                             Faulkenberry, John v.   11314-
Firm                 Jones         Gloria                     Merck & Co., Inc.       EEF-DEK



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Thornhill &                                                  DeBoutte, Joelle v.    06852-
Collings, LC         deBautte       Joelle              L    Merck & Co., Inc.      EEF-DEK

                                                                                    2:05-cv-
Turner & Flessas,                                            Hall, Ruth A. v.       03230-
S.C.                 Casper         Ruth Ann                 Merck & Co., Inc.      EEF-DEK

                                                             Falcon-Matos,          2:05-cv-
Weitz &                                                      Teresita v. Merck &    06413-
Luxenberg, P.C.      Falcon Matos   Teresita                 Co., Inc.              EEF-DEK

                                                                                    2:07-cv-
Weitz &                                                      Nardella, Louise v.    09134-
Luxenberg, P.C.      Nardella       Louise                   Merck & Co., Inc.      EEF-DEK

                                                                                    2:06-cv-
Whitehead Law                                                Brimberry, Woodrow     06802-
Firm                 Lee, Jr.       Norwood             C.   v. Merck & Co., Inc.   EEF-DEK

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Whitehead Law                                                Brimberry, Woodrow     06802-
Firm                 Sexton         Hubert                   v. Merck & Co., Inc.   EEF-DEK

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Whitehead Law                                                Brimberry, Woodrow     06802-
Firm                 Thomas         Brenda                   v. Merck & Co., Inc.   EEF-DEK

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Whitehead Law                                                Doyle, Evie v. Merck   04436-
Firm                 Myers          Jennifer                 & Co., Inc.            EEF-DEK

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Whitehead Law                                                Doyle, Evie v. Merck   04436-
Firm                 Myers          Arthur              L.   & Co., Inc.            EEF-DEK

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Whitehead Law                                                Doyle, Evie v. Merck   04436-
Firm                 Smith          Leurline                 & Co., Inc.            EEF-DEK

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                                                             Chance, Malissia v.    03377-
Wilner Block, P.A.   Chance         Malissia A.              Merck & Co., Inc.      EEF-DEK

                                                                                    2:05-cv-
                                                             Cross, Raymond v.      03380-
Wilner Block, P.A.   Cross, Sr.     Raymond E.               Merck & Co., Inc.      EEF-DEK

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                                                             Washington, Mary C.    02907-
Wilner Block, P.A.   Washington     Mary                     v. Merck & Co., Inc.   EEF-DEK

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                                                             Adwell, Tamara G. v.   05830-
Young Firm, The      Adwell         Tamara                   Merck & Co., Inc.      EEF-DEK



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                                                      Avena, Peter v. Merck   06753-
Young Firm, The     Avena     Peter                   & Co., Inc.             EEF-DEK

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                                                      Barnett, Hilda v.       04282-
Young Firm, The     Barnett   Hilda              R    Merck & Co., Inc.       EEF-DEK

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                                                      Draper, Lynn v.         06362-
Young Firm, The     Draper    Lynn                    Merck & Co., Inc.       EEF-DEK

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                                                      Fazzina, Anthony v.     05871-
Young Firm, The     Fazzina   Anthony                 Merck & Co., Inc.       EEF-DEK

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                                                      Fleming, David v.       06363-
Young Firm, The     Fleming   David                   Merck & Co., Inc.       EEF-DEK

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                                                      Saladana, Paul v.       06365-
Young Firm, The     Saldana   Paul                    Merck & Co, Inc.        EEF-DEK

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                                                      See, Gary v. Merck &    06360-
Young Firm, The     See       Gary                    Co., Inc.               EEF-DEK

                                                                              2:06-cv-
                                                      Smith, Richard L. v.    06366-
Young Firm, The     Smith     Richard            L    Merck & Co., Inc.       EEF-DEK

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                                                      Tisut, Susan E. v.      06369-
Young Firm, The     Titus     Susan              E    Merck & Co., Inc.       EEF-DEK

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                                                      Trevino, Bonnie v.      06364-
Young Firm, The     Trevino   Bonnie                  Merck & Co., Inc.       EEF-DEK

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                                                      Watkins, Diane v.       04276-
Young Firm, The     Watkins   Diane                   Merck & Co., Inc.       EEF-DEK

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                                                      Watson, Claude v.       04271-
Young Firm, The     Watson    Claude             W    Merck & Co., Inc.       EEF-DEK

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                                                      York, Jason v. Merck    04287-
Young Firm, The     York      Jason              R    & Co., Inc.             EEF-DEK

                                                      Fleckenstein, Pamela    2:05-cv-
Beattie Law Firm,                                     J. v. Merck & Co.,      02261-
P.C.                Braack    Sharon             E.   Inc.                    EEF-DEK



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Beattie Law Firm,                                       J. v. Merck & Co.,      02261-
P.C.                Braack     Terry               L.   Inc.                    EEF-DEK

                                                                                2:07-cv-
Cantu, Mark A.,                                         Garza, Irma v. Merck    03488-
Law Office of       Garza      Irma                     & Co., Inc.             EEF-DEK

                                                                                2:05-cv-
Johnson &                                               Blankson, Florence v.   05079-
Benjamin LLP        Blankson   Florence            C.   Merck & Co., Inc.       EEF-DEK

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Johnson &                                               Mathis, Hollis v.       05080-
Benjamin LLP        Mathis     Hollis                   Merck & Co., Inc.       EEF-DEK




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